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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA


MAROOF HAQUE                      :
                                  :
          Plaintiff               : CIVIL ACTION
                                  :
     vs.                          :
                                  : NO. 15-CV-1355
SWARTHMORE COLLEGE                :
                                  :
          Defendant               :



                                  ORDER


     AND NOW, this       25th       day of October, 2017, upon

consideration of the Parties’ letter constituting their Second

Joint Request to Extend Discovery Deadlines, and it appearing to

the Court that good cause exists, it is hereby ORDERED that the

Motion is GRANTED IN PART, the Deadlines previously established

in this Court’s Orders of May 10, 2017 and August 8, 2017 are

AMENDED and the following deadlines are now established:

     1.     All discovery shall proceed and continue in such manner

            as will assure that all requests for, and responses to,

            discovery will be served, noticed and completed by

            January 31, 2018.

     2.     Plaintiff shall identify and submit a Curriculum Vitae

            for all expert witness on or before January 31, 2018.

     3.     Defendants shall identify and submit a Curriculum Vitae

            for all expert witness on or before February 14, 2018.

     4.     Reports and responses to expert witness discovery for
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          all such experts shall be served on both parties on or

          before March 7, 2018.

     5.   All Daubert motions and motions for summary judgment

          are due by April 4, 2018.

     6.   All trial exhibits shall be marked and exchanged within

          30 days after dispositive motions have been decided.

     7.   The parties shall prepare and file with the Clerk of

          Court their Joint Pretrial Memoranda, in accordance

          with this Order and Local Rule of Civil Procedure

          16.1(c)and any and all motions in limine at least 14

          days before trial.

     8.   A conference shall be held shortly after the decision

          on the Motion for Summary Judgment to set a trial date.

     In all other respects the provisions of this Court’s

Scheduling Order of May 10, 2017 shall remain in full force and

effect.



                                       BY THE COURT:




                                       s/J. Curtis Joyner
                                       J. CURTIS JOYNER,         J.
